Case 2:21-cv-05927-MCS-PVC Document 21 Filed 11/15/21 Page 1 of 1 Page ID #:122



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 8                           UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10    SAM KIM,                               Case No. 2:21-cv-05927-MCS-PVC
11
                          Plaintiff,         JUDGMENT
12
13                 v.
14
      HUOD SUN TAING; and DOES 1 to
15    10,
16
                          Defendants.
17
18
19         Pursuant to the Court’s Order Denying Motion for Default Judgment, IT IS
20   ADJUDGED that the Complaint is dismissed. The action is dismissed without
21   prejudice for lack of jurisdiction.
22
23   IT IS SO ORDERED.
24
25    Dated: November 15, 2021
26                                               MARK C. SCARSI
                                                 UNITED STATES DISTRICT JUDGE
27
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